        IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE DISTRICT OF KANSAS

In re: Pinnacle Regional Hospital, LLC,
                                                            Case No. 20-20221
     Debtor.


United States Trustee’s Amended and Supplemented Objection
 to Docket No. 114 (Joint Motion to Approve Settlement and
                         Compromise)


    At the Court’s invitation, the United States Trustee submits this

amended objection to the proposed settlement and compromise between

the chapter 7 trustee and Great Western Bank. By this amended

objection, the United States Trustee asks that the Court deny the

proposed settlement for two reasons not previously raised. First, the

proposed settlement violates Bankruptcy Code § 726 by proposing to

pay $100,000 to the general, unsecured creditors ahead of priority

creditors. Second, the proposed settlement is ambiguous, and doesn’t

clearly or adequately inform the priority creditors that they will not

share in the $100,000 carve out.




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    On December 1, 2021, the United States Trustee’s filed its original

objection to the joint motion. The objection raised several issues. 1 The

Bank and the chapter 7 trustee have said they are prepared to resolve

most of those issues, but those issues nevertheless remain outstanding,

pending the outcome of the issues raised by this amended objection. 2

Because the issues raised by this amended objection are purely legal

issues, which the United States Trustee believes are fatal to the joint

motion, the United States Trustee suggests that the Court may rule on

the joint motion without the need for a trial.

                                  Background

    At issue now is Paragraph 5 of the settlement agreement, which

provides for a liquidation of the major assets of the estate—principally,

the hospital building, and land, located in Boonville, Missouri—

resulting in a division of the sale proceeds between the bankruptcy

estate and the Bank.




1 Docket No. 116.
2 Also still unresolved are the United States Trustee’s objections to paragraph 7
(withdrawal of proofs of claims in related cases) and paragraph 8 (chapter 7
trustee’s releases) of the settlement agreement. While the United States Trustee’s
objection to those two paragraphs remains outstanding, if the Court overrules the
issues raised by this amended objection, then the United States Trustee doesn’t
request a trial on the factual issues raised by paragraphs 7 and 8.

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    According to the settlement motion, the Bank will receive 55% of

the net proceeds, subject to a carve-out for the benefit of “unsecured

creditors,” and the bankruptcy estate will receive 45% of the net

proceeds of the assets.

    According to paragraph 5.b.i. of the settlement agreement, from the

Bank’s 55% of the net proceeds, the Bank has agreed to a carve out for

distribution to the “allowed unsecured creditor claims,” equal to the

greater of:

              (a) 5% or;
              (b) The amount necessary to provide $100,000
                  available to distribute to “allowed, unsecured
                  creditor claims,” provided the total available
                  to distribute to unsecured creditors does not
                  exceed $200,000. If the 5% carve out and the
                  estate’s share available for distribution to
                  unsecured creditors exceeds $200,000, the
                  carve out shall be reduced such that the total
                  distribution equals $200,000.

    According to paragraph 5.b.ii. of the settlement agreement, the

bankruptcy estate will receive 45% of the net proceeds. It goes on to say

that the net proceeds will be distributed to certain categories of

recipients. And it lists as the fifth category, “to the pro rata distribution

to allowed, unsecured claims.”




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    Paragraph 5.b.iii. of the settlement agreement sets forth an

illustration of how moneys would be paid out if the Court approves the

settlement. Under the illustration, there would be available for

“unsecured creditors” a total of $377,224.68. No distinction is made

between priority unsecured creditors and general unsecured creditors in

the settlement agreement or the joint motion supporting the settlement.

    As represented to the Court at the most recent hearing, it is the

United States Trustee’s understanding that under the Settlement

Agreement—from the Bank’s 55% share of the net proceeds—there will

be a $100,000 carve out to be paid to general, unsecured creditors; while

distribution from the estate’s 45% share of the net proceeds will be paid

under the priorities mandated in Bankruptcy Code § 726.

    In other words, the trustee proposes to pay $100,000 to general,

unsecured creditors—from a carve out from the Bank’s 55% share of the

net proceeds—even if other claims of higher priority, including any

priority claims, haven’t been paid, in full, from the estate’s 45% share of

the net proceeds.

    As things stand, there are two priority claims filed in this case:

       1. Claim No. 5, filed by the IRS with a priority, unsecured claim
          of $1,884,737.57; and


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          2. Claim No. 35, filed by Boston Scientific with a priority,
             unsecured claim of $101,999.76.

       No party in interest has objected to either claim. Although neither

the IRS nor Boston Scientific has objected to the joint motion, it is

unclear if those claimants understand fully that if the Court approves

the settlement, then they will not receive any of the $100,000.

                                Law and Argument

            A. Chapter 7 Trustee May Not Skip Priority Creditors.

       Bankruptcy Code § 726 establishes the priorities for paying

creditors in a chapter 7 bankruptcy case. Under § 726, priority

creditors—like the IRS—must be paid in full before any money may be

paid to general, unsecured creditors. According to the chapter 7 trustee,

the proposed compromise would allow $100,000 to be paid to general,

unsecured creditors, ahead of the priority creditors.

       In support of the proposed priority skipping, the chapter 7 trustee

has provided the United States Trustee with a 2006 bankruptcy court

decision from Delaware. 3 That case is distinguishable as it arose in a

chapter 11 case and involved a different factual background.




3   In re World Health Alternatives, Inc., 344 B.R. 291 (Bankr. D. Del. 2006).

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       In World Health Alternatives, a chapter 11 debtor had filed various

motions to allow it to sell all its assets, which were subject to a lien. The

United States Trustee had appointed an unsecured creditors’ committee

in the case, and the committee had reserved its right to object to the

lien, to the sale, and to the amount of the secured creditor’s claim. The

committee also had asserted a possible cause of action against the

secured creditor. Ultimately, subject to court approval, the committee

agreed to drop all its issues in exchange for a carve out from the secured

creditor’s collateral, to be distributed to the general, unsecured creditors

and the committee’s professionals. The United States Trustee objected,

arguing that the bankruptcy court could not authorize a settlement that

pays anything to general, unsecured creditors ahead of priority

creditors. The bankruptcy court overruled the UST’s objection holding

that the committee’s withdrawal of its objection to the sale motion

constituted substantial consideration given by the committee—not on

behalf of the estate or the debtors—in exchange for the carve out.4




4   Id. at 300.

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    The bankruptcy court’s decision in World Health relied on the First

Circuit’s decision in SPM Mfg. Corp. 5 In SPM, while the case was in

chapter 11, the Official Committee of Unsecured Creditors and the

secured lender entered into an agreement to work in concert to resolve

the major issues in the case. At the time, the Agreement was not

submitted to the Court for approval. The Agreement provided that a

portion of the sale proceeds, refinancing, or other disposition of the

debtor’s assets would be paid to the Committee. When the debtor could

not reorganize, a receiver was appointed to sell the assets. Two days

after the sale, a previously entered order went into effect granting the

Secured Creditor relief from the stay and converting the case to a

chapter 7. The parties to the Agreement contended that once the court

lifted the automatic stay and ordered those proceeds to be distributed to

the Secured Creditor the distributed sale proceeds were no longer estate

property; but rather, the property of the Secured Creditor.

    On appeal, the First Circuit was asked to rule only on whether the

bankruptcy court erred as a matter of law in ordering the Secured




5Off. Comm. of Unsec. Creds. v. Stern (In re SPM Mfg. Corp.), 984 F.2d 1305 (1st
Cir. 1993)

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Creditor to pay to the chapter 7 trustee the amount due to the

Committee under the Agreement.

    The First Circuit reversed the judgments of the District Court and

the Bankruptcy Court and remanded the case to the Bankruptcy Court

to determine whether the chapter 7 trustee could pay the funds due to

the general, unsecured creditors under the Agreement. Specifically, the

First Circuit determined that:

           [S]ection 726 and other Code provisions governing
            priorities of creditors apply only to distribution of
            property of the estate. The Code does not govern
            the rights of creditors to transfer or receive
            nonestate property. While the debtor and the
            trustee are not allowed to pay nonpriority
            creditors ahead of priority creditors, creditors are
            generally free to do whatever they wish with the
            bankruptcy dividends they receive, including to
            share them with other creditors.

    Neither World Health nor SPM help the trustee here.

    First, the validity of SPM is in doubt after the Supreme Court’s

ruling in Jevic.6 While Jevic addressed only priority of payments in the

context of a dismissal of a Chapter 11 case, the decision unmistakably



6See Elmer Dean Martin III, Out of the Money Homesteads, Tax Liens, Carve Outs,
Sales, Marshaling, Exemptions and Abandonments: What Can a Chapter 7 Trustee
Do with all These?, 34 Cal. Bankr. J. 185, 190 (2017); and Czyzewski v. Jevic
Holding Corp., 137 S.Ct. 973 (2017).

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indicates that in general the priorities in Chapter 7 cases must also be

observed.7

    Second, unlike World Health and SPM, while this case was in

chapter 11, there was no agreement between the committee and the

Bank. And upon conversion, the chapter 7 trustee became a fiduciary of

the estate whose principal duty is to administer estate property so as to

maximize distribution to unsecured creditors, whether priority or

general unsecured. 8 And as the First Circuit said in SPM, “[T]he trustee

[is] not allowed to pay nonpriority creditors ahead of priority creditors.” 9

    The United States Trustee has found no case allowing a chapter 7

trustee to agree unilaterally to a settlement that sidesteps the

distribution scheme provided under § 726. A 2016 case from New York

explains why. 10

    The case of MCO Wash involved a car wash, which had converted

from chapter 11 to chapter 7. The chapter 7 trustee obtained court

approval to sell the car wash. After completing the sale, the chapter 7

trustee filed a stipulation with the Court, which was not sent to


7 Id.
8 In re Bird, 577 B.R. 365, 375 (10th Cir. BAP 2017).
9 SPM, 984 F.2d at 1313.
10 See, e.g., In re MCO Wash, Inc., 555 B.R. 159 (Bankr. E.D.N.Y. 2016).



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creditors, and which provided for payment of the sale proceeds to the

landlord, a secured creditor, and a carve out to pay the chapter 7

administrative expenses and the allowed general unsecured claims.

    The chapter 7 trustee later submitted an amended final report,

which contained two separate tables of proposed distribution: one

distributing the carve out and another distributing the other estate

assets. The carve out would have included a pro-rata distribution to

general, unsecured creditors. But the amended final report proposed

zero distribution to the chapter 11, administrative creditors and the

priority, unsecured creditors. The debtor’s chapter 11 counsel and the

United States Trustee objected to the amended final report.

    The bankruptcy court agreed with the United States Trustee’s

position that a chapter 7 trustee must pay a carve out under the

priorities detailed in § 726. The court explained that a carve out from

secured collateral administered by a chapter 7 trustee, voluntarily given

by a secured creditor whose collateral has been administered by the

estate is like a § 506(c) surcharge. And a § 506 recovery is property of

the estate acquired post-petition under § 541(a)(7), which is therefore

subject to distribution under § 726.



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    Here, the proposed settlement and compromise would distribute the

estate’s property in two ways: $100,000 to non-priority, unsecured

creditors; and 45% of the net proceeds in accordance with § 726. The

proposed distribution would mean that the two priority creditors—the

IRS and Boston Scientific—will not receive as large a distribution as

they would have if all the bankruptcy estate’s funds were distributed

pursuant § 726. Because the chapter 7 trustee seeks to distribute estate

property, he must follow the distribution scheme set forth by § 726.

Thus, the proposed settlement violates the Bankruptcy Code’s priority

scheme, which the Court should not approve.

        B. Chapter 7 trustee hasn’t provided proper notice.

    Even if the Court determines that the chapter 7 trustee can pay

$100,000 to the general, unsecured creditors—in contravention of his

fiduciary duties to the priority creditors—the chapter 7 trustee hasn’t

provided proper notice to the priority creditors. Neither the joint motion

to approve the settlement and compromise nor the Settlement

Agreement make clear that there will be $100,000 paid only to general,

unsecured creditors. Instead, Paragraph 5.b.i. of the Settlement

Agreement provides the carve out will be paid to “allowed unsecured



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creditor claims.” This language doesn’t put the priority creditors on

notice that they will not share in the $100,000. Thus, if the Court

determines that it can approve the settlement, then it should also

require the chapter 7 trustee to provide a clear notice to all creditors,

and especially the priority creditors, that the priority scheme will be

altered so that priority creditors will not receive any part of the

$100,000 carve out.

                               Conclusion

    The chapter 7 trustee asks the Court to approve a settlement under

which the estate will receive $100,000 plus a to-be-determined sum,

both from an eventual sale of the Bank’s collateral. He proposes to pay

the $100,000 to general, unsecured creditors ahead of the priority

creditors. The rest he will distribute under § 726, which may mean

something may be disbursed to the priority creditors. The Trustee tries

to justify this arrangement by citing to inapplicable chapter 11 cases

involving carve outs paid, not to the estate, but paid to unsecured

creditors’ committees. This is a chapter 7; the trustee cites no authority,

nor can he, that would permit him to pick and choose who he pays.




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    Alternatively, if the Court holds that the trustee can ignore the

priority scheme in the Bankruptcy Code, then at a minimum, the Court

should require the trustee to file an amended motion and new notice to

provide clarity to the creditors and parities in interest of the estate,

including the priority creditors.

                            Respectfully submitted,

                            ILENE J. LASHINSKY
                            UNITED STATES TRUSTEE

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                           Certificate of Service

     I hereby certify that on February 25, 2022, a true and correct copy
of the United States Trustee’s Amended Objection to Docket No. 114
(Joint Motion to Approve Settlement and Compromise) was
electronically filed with the Court using the CM/ECF system, which
sent notification to all parties of interest participating in the CM/ECF
system.

                              By: Jordan Sickman




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